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                         IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               )      Case No. 18-66766-JWC
                                                     )
BEAUTIFUL BROWS LLC,                                 )      Chapter 11
                                                     )
              Debtor.                                )

                  MOTION TO SHORTEN NOTICE PERIOD FOR
       MOTION (A) FOR AUTHORITY TO SELL ASSETS FREE AND CLEAR
     OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS; (B) TO ASSUME
             AND ASSIGN CERTAIN EXECUTORY CONTRACTS; AND
        (C) TO ESTABLISH PROCEDURES WITH RESPECT TO SUCH SALE

         NOW COMES the above captioned debtor, by and through its attorney, along with the

appointed Chapter 11 Trustee S. Gregory Hays (the “Trustee”) and hereby submits this joint

motion pursuant to Rule 9006(c) of the Federal Rules of Bankruptcy Procedure to Shorten Notice

Period for their motion to sell and to assume and assign unexpired leases [Doc. No. 125] (the

“Motion”), which was filed on May 10, 2019, stating as follows:

         1.     Under the terms of the Motion, the Debtor and the Trustee seek to sell

substantially all of the Debtor’s personal property which is located in its two remaining retail

locations, and seek to assume and assign the Debtor’s unexpired leases for such locations.

         2.     The Debtor and the Trustee would like for the Motion to be heard on May 23 in

order to quickly close the sale, and so that the new oweners can begin operating the retail

locations by June 1, 2019. Time is of the essecene with this proposed sale, because the Debtor’s

business is reaching its peak season. Being able to close more quickly means a larger recovery

for the estate, and minimizes administrative expenses.

         3.     Additionally, no parties will be harmed by the expedited hearing because any

liens to the extent valid, perfected, enforceable and unavoidable will attach to the proceeds of the

sale pursuant to 11 U.S.C. § 363(f).

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       WHEREFORE the Debtor and the Trustee prays that the Court enter an Order pursuant to

Rule 9006(c) shortening the notice period and holding a hearing on the Motion on an expedited

basis, and granted such other relief as the Court may deem just and proper.

       Respectfully submitted this 10th day of May, 2019


                                                    By: /s/ Jason L. Pettie____________
                                                        Jason L. Pettie, attorney for Debtor
                                                        Georgia Bar # 574783
                                                        P.O. Box 17936
                                                        Atlanta, Georgia 30316
                                                        (404) 638-5984

                                                    By: /s/ S. Gregory Hays____________*
                                                        S. Gregory Hays, Trustee
                                                        2964 Peachtree Road, Suite 555
                                                        Atlanta, Georgia 30305
                                                        (404) 926-0051
                                                        ghays@haysconsulting.net
                                                        *signed by Jason L. Pettie, with express
                                                        permission granted 5/10/2019




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                                CERTIFICATE OF SERVICE

        I, the undersigned attorney, do hereby certify that, on this date, I have served a copy of
the foregoing pleading on those parties listed below by mailing a copy thereof, via first class
U.S. Mail in a properly addressed envelope with sufficient postage affixed:

Office of the US Trustee
Russell Bldg, Rm 362
75 Ted Turner Dr, SW
Atlanta, GA 30303




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